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Middle Distriet of Tennessee
Craig Cunningham §
)
)
Plamn;z(s) )
v. § Civil Aetion No. 3:15-cv~00847
Enagic et al )
)
)
_ __.,,,¢J_o.n,¢ )
Defendmr(s) )

SUM]VIONS IN A CIVIL ACTION

To: (Deféndmzt 's name and address} Jeff Howard
5348 Vegas Dr. # 619
Las Vegas, NV 89108

A lawsuit has been filed against you.

Within 21 days after service of dn`s summons onyou (not counting the day you received it) _ or 60 days if you ,
are the United Swtes or a United States ageney, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
tile Federal Riiles of Oivil Proeedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are'. Craig Cunningham

5543 Edmondson Pike ste 248
Nashvi||e, TN 37211
61 5-348-1 977

Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

 

 

 

SEP 2 2 2015 \ '@WD
Date:
Signalure ofClerk or Depuzy Clerk

 

 

Case 3:15-cv-00847 Document 27 Filed 10/19/15 Page 1 of 3 Page|D #: 135

 

 

AO 440 (Rev. 06/12) Summons in a Civil Ach`on (Page 2)

 

Civil Action No_ 311 5-cv-00467

PROOF OF SERV{CE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SummOnS for (name of zndrvldual and title, ifany) 2 -F~€ H 0 l/(/d /`CI/

was received by me on (date)

El l personally served the summons on the individual at (place)

 

on (dare)

 

|:I I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

I:| l served the summons on (name ofindr'vidual)

, who is

 

designated by law to accept service of process on behalf of (name aforganizanon)

 

01‘1 (date)

 

Ij l returned the summons unexecuted because

;or

 

Mther (specifv).' 56 f|/‘€Q/ l/[`§l

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true

Dae_ /D 1 /5‘ le;:/,

 

0.00

 

v
§Yver ’s signature
\

Marioe| Forteza

 

Prz`nted name and title

5543 Edmondson Pike stee 248
Nashvil|e, TN 37211

 

Server ’s address

Additional information regarding attempted service, etc:

 

 

 

Case 3:15-cv-00847 Document 27 Filed 10/19/15 Page 2 of 3 Page|D #:

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